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C-5149-14-H

OEO_¢EUO.__NA_QM”N_N:.BMN

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

m.c_u_m:m _.__ms__ _.._ w=.m__s _o_._m_:_ wom_n_m._ O._. coowa n emola.w_…_…».._ _ lw.___..__. l. _ _Hll . ._:_._ .. _l…c_lm»____»o_.._M_~.._vH___ ._o_._m_Em_mo_.mm“_n_w_m_Nn_.._MM_w_m__._oww_MM _
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l l l ll l-_ _.___..__..______B S. ______ __8; B_E€Q._% 8~._%_ £, ._._...S.m__m mm.____a_m_.» 9 _ _ _____________ coweng §§.§Smawm._
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l _m___ES osm _cmEa_.:cm S_.__,_o.mw momm_n._.___ n.__._.__ __momlo.__..wd. , _ __ ____w_o.a_o.u.n _lm w.._. . ___v _ wmo_.>mu >E_Bmm ibequ __ml_w_.____l 5 §§
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E___mm________aw _o__m |al___m___mm ___ms_._ ____ m__m_._mm._ __cmm=__m _|_l__m__.m____ _£_. QS_mmE Sdom._._m_» w._ n _ _ _| _-_.m_.__m a:.q._..___._m_m___m____ ___ _.m_mmm.m__§__§_____
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C-51 49-1 4-H
Property Condition Aasesamont-Terracon Pro]ec_t Number 92088503 ""'e"acon

Niernorial lllliddla School - Pharr, Texas
February 22, 2008

D. Geheral Desc_rlptlon

Terracon completed this Property Condltion Asseesment Report for the Memorial Middle Schcol
located within the Pharr-San Juan-A|amo independent School District (lSD_) at 714 E LlS Highwey 83
in Pharr. Texas. The subject property consists of the retain Building, Cafeteria building. Classroorn
Annex 1 building1 Classroom Annex il building, Gymnaslum bulldlng. Dressing Room buildingl Fleld
Locker Room bulldlng, Stambeugh bulldlng, Textbook Department building, and landscaped areas.
_The Ma|n Butldlng was originally constructed in 1915 and subsequently remodeled with additions in
1976 and 1986. 'Ail buildings at the school contain approximately 85,202 square feet of floor area.
The school_slte ls bounded on the north by U. S. Htghway 83, on the east by S. Gurnwood Street. on
the south by E. Kelly Strset, and on the west by S. Dogwood and S. Flr Streets.

The site contains three on-site parking ereas. Landscaping- consists cf large-sized trees and shrubs.
Sidewalks are not provided along the perimeters of the site but are located between and adjacent to
the bulldings. Access to the Nlaln Building is through 'a main and secondary entrance accessible by
concrete steps, security _gates, and doors on the west and south elavatlons. Access to the other
buildings is through level entrances not requiring _steps. A handicapped ramp and marked
handicapped route provides access from the south aids of the site to the Nlain Buildlng, Ccmputer
Annex, and Cafeteria Buildlng. A playground ls located on the east side .of the slte. ,

Limiied des_ign. construction drawings. and documents were available for our review and did not
indicate the type of foundation system for any building Tl'ie foundation for the ivlain Building was not
visible at any localicn. The foundations for the Gal‘eterieI Textbook Depertrnent bullding, Classrcom
litnnex|1 Classroom Annex ii, Stambaugh Bul|ding except the'Oid Band Hail wlng, and the Gymnaslum
building appeared to be concrete siab-cn-grade and grade beam foundation systems The Old Band

Hail wing of the Stambaugh Bui|ding appears to be a pier and beam type foundation.

The structure of the ivlalri Bui|dl_ng appears to consist of a reinforced concrete frame with masonry and
structural otey tile exterior weils. Exterior stainiv`a|ls were added during previous remodeling. Original'
open spaces on either side of the original connecting corridor from the Main Buiiding to the Auditorium
were enclosed utilizing steel framing that supports metal roof decking and stucco finished exterior
walls. The framing cf the stucco Hnished walls was not readliy_ apparent The Cafetaria and the
Clessroorn Annexes l and ll appear to be constructed of wood framing with brick veneer and stucco
finished exterior walis. The Stambaugh Bullding apparently is framed with structural steel containing
brick veneer walis. The old bend hall on the west end of the Stembsugh Building is building is
apparently wood framed with brick masonry load bearing exterior walls. The Textbook Dspsrtment
building is steel framed with open web steel ]cists supporting metal roof decking and brick veneer
exterior walls. The Gymnaslum is framed with steel rigid frame benis and open web steel lolsts. The
Gymnaslum Dreselng Ftoom is a pre-engineered steal rigid frame structure with open web steel lolsts
supporting metal rocf_ decking. The Gymnaslurn Fleld Locker Rocm appears to be wood framed with
wood plank roof decking. The Gymnaslum and Fieid Lccker rooms have brick and concrete masonry
unit (CMU) exterior wa|is.

Buildlng entrance doors varied from building to buildingl Double wooden and metal doors with glass
panes were observed. Metal personal doors. both with and without glass panee,_ were elec observed
The interior doors of ali buildings are typically manufactured of solid-core wood with and without glass
panes or'rnetai with and without glass panes lnsets. The building exterior windows consist of original
muitl-pan_ed windows (operable) set in metal frames or single pane windows (fixed] set in metal
frames. ivlany cf the doors and windows were covered with plywood sheethlng or othenrvise obscured

The lvlain Eiullding roof appears to be applied to a reinforced concrete deck and consists of a modified
bitumen cap sheet membrane. Roof drainage ls provided by scuppers through the parapet wails. The
Cefeterla. C|assrocrn Annex l,.and Classroom Annex ll. contain low slope roofs consisting cf
composition shingles supported by wood framing and wood decking. There are no gutiers or
downspouts tc collect rainfall runoff on the westside of the Cafeteria or Classroom Annex li. Thene

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C-5149-14-H
Property Condlt|on Assessment-Terracon Prolect Nurnber 02008503
Memorlai Mlddle School - Pharr, Texas .“-e"acun
Feb_ruary 22, 2008

are two low slope root sections and one pitched roof section on the Siambaugh building. One low
slope roof area consists of a modified bitumen cap sheet membrane and the second area consists of a
conventional built-up and aggregate surfaced membrane. The pitched roof is a standing seam metal
roof and appears to have been applied over an existing wooden shingle roof. The Gymnaslum and
Gymnasium Dressing Room roots consist of modified bitumen cap sheet membranes, The roof on the
Gymnaslum Fleld Locker Roorn wing also appears to be a modified bitumen membrane system. The
Textbook Departrnent building roof consists of a modified bliurnen cap sheet membrane. Roof
drainage on the low slope roots is by sheet flow to area drains in the field of the roof or to scuppers in
the exterior parapet walls. No souppers were observed on the main Gymnaslum roof. There are
conventionally fleshed roof curve for l-iVAC equipment and plumbing vent jacks on the lvlain .Buiidlng,
Gymnasium. Stambaugh Building low rocfs, and the Texibooi< Depertmsnt bulldin`gs. 'l’hers are
conventional plumbing and turbine roof vents on the Cafeteria, Classroom Annex l and Ciassroom
Annex ll roofs. '

The buildings are provided with split systems comprised of exterior condensing units and interior
heating and cooling e|r handling units (AHUs); packaged. roof mounted heating and cooling units
(RTUs]; and two»pipe AHUs with chilled water coolinglhot water heating systems. Heatlng in the split
systems is provided by heat pump operation and auxiliary electric heat. The two-pipe Ai-li_is contain
one set of coils for either chilied water cooling or hot water heatl ng. Chll|ed water is provided by two
air cooled water chii|e_rs. i-ieating hot water is provided by a natural gas fired boiler. Cond|tloned air
from each split system and RTU is delivered through sheet metal and flexible ductwork connected to
ceiling mounted diffusers or side wall discharge air gr|i|es in the interior areas. Outs|de air for
ventilation is generally introduced through building infiltration or by intakes the RTUs for blending with
return air. Roof mounted exhaust fans connect to ceiling mounted air grilles in the restrooms to
provide building exhaust

The plumbing systems include the municipal domestic water service, domestic cold and hot water
piping systems. and sanitary sewer system including the soii, waste. and vent piping. The building ls
supplied with domestic water from the municipal water main connecting to the restrooms, drinking
fountains. kitchen. cafeteria, service outlets, make~up water to chilled.-‘hot water systems. and domestic
water heaters. The sanitary sewer system consists_of cast-iron and ABS soi|, waste. end vent piping
connecting to the restroornsl floor drains, and kitchenl The plumbing fixtures are commercial grade
and typical for school construction Tcilets are floor or wall mounted. Lavatorles are wall mounted.

Electrica| service ls supplied by utility owned transformers at the buildings F'ad mounted transformers
are installed on the southwest elevation of the Nlaln Bulidlng. The transformers supply 208!120-voit,
three phase. four-wire service to main switchgear panel in the lvlain Bullding. The main switchgear
panel supplies fused disconnects that supply 208)‘120-vo|t distribution panels for lightlng, receptaclesl
HVAC, kitchen equipment, and general uses in the other buildings. The service is metered at the west
elevation of the ivlain Bui|dlng and exterior walls of other bulldlngs. Observed distribution wiring ls
copper.

The lvia|n Bui|dlng and other buildings do not contain _a fire alarm control panel (FACPJ or fire
protection sprinklers cr standplpes. Fire extinguishers are installed in various areas of the school.
'iviunlslpai fire hydrants are located along public streets borderan the property. Emergency exit and
egress lighting are powered by the battery back-up.

The site utilities are supplied by the Clty of Pharr including water and waste \.vaterl electrical power,
natural gas service. Storm water from the iandscaped and paved arees.ls directed to the surrounding
side streets and connects to the municipal storm water system

The temporary buildings located in the southeast corner of the site are not a part of this assessment

 

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Memoriai Middle Schooi - Pharr, Texas 1
February 22, 2008

E.

 

Rocent Slgnificant Capltal improvements

Rece_nt capital improvements to this property include:

 

mastersonan " ` _ " _"é'¢.m,rmr

___None_

 

General Physic_a| Cond|t|_on

Site improvements and the building are generally in fair to poor condition and appear to have received
less than typical maintenance The originai building is approximately 90 years old with additions or
remodeling completed in approximately 1976 and 1986. ivtalo'r equipment and building systems have
been routinely repaired or replaced on some buildings only. interiorl exterior, r"nechanica|l and life
safetyifire code related repairs and improvements have been identified and noted in the Estlmated
Repelr Cost Tables. Ai|owances_ have been included in the cost tables for repairs of environmental
abatement issues; pavement replacement; demolition and replacement cf portions of the twain
Buildlng; repairs or replacement of interior floor coverings, wall surfaces and ceilinge; interior and
exterior painting; repairs to exterior concrete end masonry; window and door replacement; roof
repiacement; and mechanical and electrical repairs.

Furniture, letures and Equipment

in accordance with the scope of work, furniture, fixtures and equipment costs have not been
addressed within this Report.

Foi|ow-up Re_co_mmendations

lt is recommended that a detailed investigation of the foundation and structural framing be conducted

by a qualified structural engineer to determine the condition and capacity of the structural system of
' the Main Bui|dlng and to ascertain the viability ot future renovations of the buiidlng. The Old Band H_al|
" of the Btambaugh Building and the Fieid i~iouse should also be investigated to ascertain the viability _of

future renovations of these buildings These investigations should include detailed recommendations
,for remediation.

lt is recommended that a detailed investigation of the root systems ot_aii buildings be conducted by a
qualified consultant to identify the present conditionsI Th|s investigation should include detailed
recommendations for replacement and type of materials to be used.

lt is recommended that an investigation of the possible asbestos containing materials be conducted by
qualified engineering firm to identify the present conditions This investigation should include
sampiing and recommendations for possible abatement~p_r;ocedures.

Purpose

The purpose of this Property Conditlon Assessment was to observe and document readily visible
material and building system defacts. which might signincantly affect the continued operation of the
facility during the evaluation period. Thls work is being completed in anticipation of a planned
renovation and follows our client's scope of work guidelines

 

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Property Condltlon Assessment-Terracon Pro]ect Number 92088503 j
Mer'norial Mldd|e Schooi ~ Pharr, Texas .|re".cnn
February 22, 2008
K. Scope

The Soope of Work was performed in general accordance with Terrecon Proposai Number P9207-
1203F dated December'31, 2007 and accepted on January 7, 2008. The scope included a site vielt,
interviews with Pherr-San Juan-Alerno lSD personnei; inquiries to the local Building Depertme`nt.
Zoning Deoartment end Flre Depertment; and a review of readlty available construction documents
[drew|nge and specifications) provided by the client. The site assessment includes visual observations
of the following system co_mponents: site developmentl peving. exteriors, interior flnishes, structurel
roofing. mechanical, electrical, plumbing. life safety.'iire protection, end general ADA lssues.

This Report does not confirm the` presence or absence of items such as moldl asbestosl
environmental conditions or hazardous substances on this prop‘erty.

L. Pe_\'_sonne| interviewed

in conjunction with our crt-site visit end while attempting to gather pertinent information on thts
property. the following personnel were interviewed or have provided ln_forrnatton. which we have relied
upon in the assembly of this`Re`port. These individuals were designated as knowledgeable about the
site and related improvements `

 

  

 

 

Euochoa.PtE..Atl.A. tERointemationai,LLP _ _ (956)6_61-0400 __ `
Ray Sanch_ez _PSJA construction Mahager" - (956)733-_8_705‘ __

 

 

 

 

iiii. Documentation

Terracon was provided wl_t__h the following documentation for this property, which we have relied upon
in the assembly .o_t this Repon.__

 

     

 

easementsth Souroa

rv\emor\al Middle schooi`boh§iéu¢iibh drawings Aiteratlon ahd"Remodenng ¢rhomas Jefferson Jur`t`ior
. ngh School- '_l'anlguoh_l_ end Q'r_oft Arch_i_tects (no dete)

P.s.J.A. Mem_orlai 9"‘ erade owners Reiocatlo'n" eam/Goméz sAssociate`s, lnc. 4~1.`19`36
F"°i°°* _ __ ._ _ .
- Lir"n'lted design documents were provided for review.-l

- Tyj_)ica_| documents such es geotechnical reports end Certiticates of Occ_i_.lganoy were no_t_ provided-

 

 

 

 

 

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Preperty Condit|on Assessment-Terracon Proieot Number 92088503

c-5149-14-H
1i`nrracon

Mernol'iai i'¢'iiddle School - Pharrl Taxas

Fobruary 22, 2008

\

_il. Property Descriptlon and C'onditi_on _

   

Drainag`o Systems

Water and Sewe'r

jP.arklng

PavinglCurb|ng

SidewalkslStairs

i*l iii iii -

T“hé fa"swtnsi}°» s "`_-°§`f_¢!

 

 

 

 

 

 

_' Sa_nitary Sewe_r:_ __Qity of Pharr

Storm Se_wer: § City otharr

`b_sr?‘sst¢ttse+=. `_-_ _szotrharr ` h
NaturaiGas - Not provided

fService:

E|ectric$ervica:__; " C_P.|_.__ _

'Te*§'i?h'°“°¢ ' ___l_U“'i:‘i‘°_W'i_:___

 

 

Storm water drainage is provided by surface flow over paved and landscade
areae_that drain to surrounding city streets and storm sewer inlets.

 

indications of_ recent precipitation were not apparent during _cur; _s_ltel visit; however, `

__ths§tstm waterwle steam wald estate vs adequate atstm§"s“hg-
The Clty of Pharr provides domestic water end sanitary water services to the'¢site.

Domestic water is provided to the site through a subsurface water main pipje from
a municipal water main plpe. Sanitary water drainage is provided by gravity flow
through piping connecting to sub-surface sanitary sewer main piping.

N_o Ch_ronic system-;!pre_ssure or capacity problems were repone'd'=o'r 'ob"s_e'r\"/`ed.;.l
Parking summary

 

Surface Perking Speces-_i_ §:80 counted
_Act'_t'e:esib_le _i_'¥’aritlr_t_g Spaces__j ;_3 ' '
" _ "Totat retiring _`spai=ei’- ="sé`

 

The site has five asphalt paved areas. One area is located on the west side of the
Cafeterla; one area is located on the north side of the site; and three areas are
located on the east side of the site. Three handicapped spaces were marked and
two spaces were signed.

n The asphaltic"concrete pavement appeared to be in generality poor condition.

Te`r_racon recommends complete replacement of the paving in the parking areas
including stripping and directionai markings A costle included in the Est|mated
Repair Cost Table.

Concrete curbing observed on site is in fair condition.

" "Side'wa|i<e are provided to transition from the street cures-to the building entrances

along atl sides of the site and are of cast-in-_plece concrete Originai sets of cast-
in-place concrete stairs are installed along the north elevation at the Maln Bui|dlng
main entrance, end on the east and west sides of the entrances to the i’viain
Building auditorium.

The sidewalks appeared to be in generain fair condition with some cracking
opeerved. Spot repairs and replacement are recommended during the evatueticn
pericd. A cost estimate is included in the Estimated Repair Coet Ta_ble_._

 

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Prope'rty Condition Assessment-T_arracon Pro]ect Numbsr 92088503 1re"-acon

Mem'orla'i Midd|e Schoo|

February 22, 2008

Exterior Lighting

  
 
   
 
 
 

Landscaping

Fencing

Signage

Dumpster Areas

Retaining Wal|s

- Pharr, Tsxas

 

 

 
 
 
 
 
    
 
  
 

.. . _ gr`i require `
additions lighting Acosi'ror. seemed nepaircast
`_i's`b`ie. _An allowance ._o ,.
R_`_`s`_p `Co'et T_si:`il_e.'

  

The landscaping consists of large trees and shrubs occurring throughout the site
_T_._her_e was no underground irrigation system observed

 

it is__ estimated that the
edod.

    

‘ §
land caping will o i_r_e__ y
as and shrul:is were obsei‘v

 

 

There is perimeter chain link fence located along the north east. soutn, and-west
sides of the site

   

 

ncin appeared -"t_o
" __`c_e during th_e_____ ____

 

 

 

 

,'.`-.l`.:..-,_.¢.....

Dumpsters are located on the north side of_ the Textbook Department building and
on the west side of the Ca_feteria buiidlng.

The__re are retaining walls on the east,_ south and west side cf the i\ri'ain Bui|dlng

 

 

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Property Condit|cn Assessment»Terracon Pro]ect Nu'rnber 9_2088503 '"'e"acun

Mnmorlal Mldd|c School -
February' 22, 2008

    

_ 'r ll
F'oundations

_B__. __Bul_lding Exterior_f _

     

Pharr, Texas

 
 
     

  
 

 
 

Lirnited design. construction drawings, and documents
and did not indicate the foundation system for any buiidlng. The foundation for the
Maln Building was not visible at any location. The foundations for the Cafeteriai
Ciassroom Annex i, Classroom Annex li. Stambaugh Buildlng except the old band
hall wing, Gymnaslum, Dresslng Room buiidlng. FIeid Locker Room buiidlng. and
the Textbook Department building appeared to be concrete slab-_on»grade and
grade beam foundation systems The old band hall wing of the Starnbaugh Bui|dlng

assaer 10 be s plat and beam trps_fourdaisn. _

'Th_e 'foundatlon"of' the llirialn 'Bi`jliciing w s` not observed, however, no significant

signs of`structural_d|st`ress were noted in the building framing observed Some
minor stair`!ate`p diagonal cracking in the brick veneer was noted on the upper area

_ofrth_e non _ l elevation near the r_naln,ze_ntranj_e,e .and on the east wing ortho original

` shortt-ire-

..i_s_ _ recommended that th_

l ` _ijes_e_ o_recits;_hav`e` been previou'c`iy repaired and did not appear to be
_diinentlcin'_natu_ra.-__ . ;

-T"'d`r'e;‘ware no sig`riiticaht*signs cfi=i`§tmctirrei distress noted in the walls or

_erpir}ii_e`ctural finishes of t`_i_ie Cla`ssroom Anr`i`e'_t"c" l, Ciassroorn Annex il. Sta`rnbaugh
Build_ing‘_ego:ept_,t_he"o|_i_t bend _h_ai_l_,wl_ng, ._t§yr_nnaslu_rn. Dresclng Roorn building._Field
i_._oci<er Rocm.'"a'nd'the Te"s<ibook ospa.r`nnent nuilding. '

mercier-doane heil_,wing_pt_;t_ns staniba agri noticing has some vertical and stair step

c'.~"ri`abitiri§' _inf__t.ne_.a;_<t;ener"'e_ric__i<___i._i_ie_ii __oq_.ina_.-weet_._eievaiion. There is some sperling or

the;fou‘nlddtion`sltir't cl_ll`l‘ii__i"ig and tdirdsion `¢`§_f exposed reinforcing steel was noted, lt
e foundation and structural system of this:po_r__t.ipn of the

v

Starnba`_u`gh Bijlidlng be included ln the structural engineering review. `A` cost for this

l`s_t`i_'i_ii:itu`ra_l`il_n___\_ritt_.s`ti§;jatl:o_n le included ln;!th'e"E§timated_-Repalr Cost Table.

Superstructure

l The liilain Building appeared to consist of a reinfoer concrete frame with masonry

and structural clay tile exterior walis. Exterlor stalrwells were apparently added
during previous remodeling that appeared 'to consist of reinforced concrete with
amoco finished exterior walls, Orlginal open spaces on either side of the original
connecting corridor from the Nlein Bui|dlng to the auditorium were enclosed and
utilize steel framing that supports metal roof decking and stucco finished exterior
wails. The framing of the stucco finished walls was not readily apparent The
Cat'eteria and the Classroom Annexes l and ll appeared to be constructed of wood
framing with brick veneer and stucco finished exterior .waiis. The Siarnbaugh
Building is apparently constructed of steel framing with brick veneer walls on the
newer portions of the buiidlng. The old band hail on the west end of the Stambaugh
building ls apparently wood_frarned with a brick masonry load bearing exterior well.
The Book- Dapartment building is steei framed with open web steel ]olsts`supportlng
metal roof deckan and brick veneer exterior wails. The Gymnaslum ls framed with
steel rigid frame hents and open web steel .ioists. The Dressing` Roorn building is a
pre*e_nglnee_red steel rigid frame structure with open web steel ]otsts supporting
metal roof decking. The F|a|d Locker Room wing appears to be wood framed with
wood plank roof decking. The Gymnaslum. Dressing Roorn, and Field Loclter
Room have brick and CMU exterior walls.

The building framing elements were generally partially obscured ln all buildings The
reinforced concrete structure of the Main Building generally appeared to be in good
condition with isolated areas of damage. primarily due to water infiltration Surrace
corrosion on the structural steel and metal roof decking in the enclosed area on

_ either side o_f the original corridor connecting the Maln Building to the auditorium

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February 22, 2008

 

 

 
 
      
 

Exterlor Wal|s

Wlndowleocrs

 
 

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riot__visibie The structures of_the _Boolt

   
   

Locker Roombuildlng' was p_" ain visi_bl" .
' visil;)_itirl Thai'd _ ere

_ u|l_din__g__ was riot open f __
cture'was not allowed during u_r-- site

The exterior walls ortho buildings consist or brick masonry with structural clay tlie
face brick masonry veneer painted or stucoo-finlsl'red brick masonry, and painted
CMU. F'reoast reinforced concrete architectural elements are utilized on the Mein
__B_t_ii|_c_i_lng fac_ad__e's_.__ _ _
r_ ' ' ' ry l 'rtar o_n the Main Buildlng|and the""" " "°`""

`__cas't- reinforced concrete architectural re ment-li
`.; tis__-re_ mmended

bet-replaced a ' _ _ __
s_inclu_______d in th_`e Estlmato Repalr_ osth_ e'_'_-.____- _

Building entrance doors varied from building to buiidlng. Deuble wooden and metal
doors with glass panes were observed Metal personal doors, both with and without
glass partes were also observed The interior doors oi_ all buildings are typically
manufactured of solid-core wood with and without glass partes or metal with end
without glass partes insets The buiidan exterior windows consist of original muiti-
pan_ed windows (operable} set in metal frames or single pane windows (tlxed) set in
metal frames Many of the doors and windows were covered with plywood
sheathi_n_g__ or __othe_rwise obscure_d.

 

 
 
 
 
 
  

 

appeared to be':"._?=! " _ ' : w '_.:; h
'o_ comply with _t_h_e international Enorgy 'C`i:id'e.
"sarved =;.wlth weather deterioration and

 

_-their intended service life r_i
.The exterior finishes ds'e`ai_
_deca_y.._ lt le recommended '
5 building s l'iistoi'io designatlo
higher than typicach _

     
    
  
 

 

_ th_`e'c "t§_ __of replacing tire windowsa' " ' 'd` " _
`co_ ___`_st-_____ i_s_ included _i_n t__he_ Estirnated Repalr Co`et _'l'dbie_._ z

  
 

12

 

 

 

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Froperty Condltlon Assessment-Terra_con Pro]ect Number 92088503 » mo
lillemorlal Mlddla Sc'hool - Pherr, Texas .“-er
February 22, 2008

  
     

   
      
 

     

 

__wo_d er__id_metal -_i:l_oo"rs e_'e__r_'e_d' to .b_e_ __n generally poor_condi_tlcn with the

_e`x_ce tie oigthe"_e`asti-‘ald§`_oj-;the__'_§tambaugh'B'uild_l_r_ig._ _Seeierits around door frames

w noted iii he deteriorating due to wea'_tng_r:e_xpdeure. Tne' doors are estimated
-* relatide R¢P_air C°¢i wis

. féi'-:'§P"i"-‘?°i":Q-'l‘-_ -i”‘.."'§b`§i.*§'§i‘l.¢_'il.ili?!_¢.i. _
Stairsl$teps "Cast-in-.p|ace concrete stalrs_are located at the Maln Bui|dlng et the front entryway
and on the sides and back of the elevated wall_<w_ay around the auditorium.
`The _`_`c_':ieer.-in.‘pi¢_ic§____staiis__"wdre“bb'se;rvei:lz§to in";ggood condition with no repalr_s
|d_entlll_ed` during the evaluation perlod. _ f ' " - `

Elevated Walkweys NA_

   
 
 

 

  

 

 

¢=i;.__.',..,_‘ __ ,.r.~ ~_.~.

 

Bal__con_`lee NA "

 
     
  
      

  

)£§i \ ._ . - '. ' ` . ~.'ESH§ .‘- '. ~ . \ -i-'-.;i.~..: ~.~'i '-.
Gen_ersl Descrlpt|on The Maln Bui|ding root appaared.to_ be applied to a reinforced con te de k __nd
of Ro"o\‘lng-Systeme consists of a modified bitumen cap sheet membrane Roof drainage is provided
by scuppers through the parapet walis. The low stops roofs of the Qafeterla,
Classroorn Annex l. and Cla`ssroorn Annax ll buildings consist of composition
shingles supported by wood framing and wood decking. There were no gutiers
or downspouts to collect roof rainfall runoff on the west side of the Cafeterle or
the Clessroom Annex ll. There are hvo low slope roof sections e_n_d one pitched
roof section on the Stambaugh buiidlng. O_l_i.€ low slope roof area consists of a
modilled bliur`nen cap sheet membrane and the second area consists of a
conventional built-up and aggregate surfaced membrane. The pitched roof is a

standing seem metal roof and appears to have been applied over an existing
wooden shingle rooi'. The -Gymn`as`lurn and Dressing Room building roofs
consisted of modified bitumen cap sheet membrenes. The roof on the Fleld
Locirer Room building appeared to b`e a modified bitumen membrane system.
The Textbook Deparlment building consisted ol' a modified bitumen cap sheet
membrane. _Roof drainage on the low slope roots was by sheet flow to area
drains in the iia|d of the roof or to'sGi-li>i?ers |n the exterior parapet walls. No
scuppers were observed on the Gymnaslum roof. There are conventionally
flashed roof curbs for HVAC equipment and plumbing vent jacks on the Nlain
Buildlng. Gymnasium, Stambaugh Bui|dlng low roofs, and the Textbook
Department buildings There are conventional plumbing and turbine roof vents
on the Cafeterla, Ciassroom Annex l and Classroom Annex il roofs.

        

 

 

   

 

 

   

 

 

_ s ' ' "- '~ nooF sYs_Tl__aii_rl barn
Bui|dlng n l 1_ Roof ' Roof Sy`stem beto _(§enera| .'! Estlmatecl
_., Ama (SF) ' installed . Condltlon -` RUL (Yre)
_ _ . __ .. _ ._ . 1 . :l_.g£)-..__.,,_......._..u....,...... .... . .i:r ....,,
N|`a|n Bui|dlng 19.000 Modiiied B|iumen Unknown ' Poor l ‘i to 2
est. _ with aggregate
' ` surface __ __
cafeteria eullding § e§b"c_o"ééi.` f deceasde ` _ “`lii-ix"n`own " " Fair "a' ros`
___ ' Shlngle's
'..;;._.._..»_-..;‘_.~__;.'_...'...-.._:___';..,..;.'.-_..~;,.' _ .. ..'.; .... ,.'_-'--..E._ .» …mc.“.s. ,....…,,i'~...._' -. __ .. ,. l... ..........--- _. .- ._._.. .,_-,_._s__. ...., ._._.. . ..- . ,-;_-_,-.._,.,,,_.,,_ ___,,.,..._,,._

 

 

 

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P n c dirt A T 901511‘6_9 1b4-H cessna 1|'

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ll'lernorlalMlddlo School- Pharr,Texa_s erracon
Feb'ruary 22, 2008

 

 

    
        

   

 

 

 

 

 

 

 

 

 

  
     

 

Qlessroom An_nex-| iq 3, 000 est.1 'Compi_':~sitlon Unk‘ndwn Fair j 3 to 5
_- Si‘i_ingl_es _
!Cl ssr60rn Anne):|| S,BOoest ;--Composltion 7 ' q Unl<nown di°o-or n in ito-2-
’ Shlng`ies ]_
"saiii'i§§ug'n`sl]iidin§.` ;`6`.`266651_"" `Xé§néiri¢`buiirliib" 1666 d '_ " hair _ § "`"3"1¢`5`""
east wing ` and flood coat with ' i-
Stamb_augh Bui|dlng. § i.,500 est. iviodified B_i't'umen 1 1996 Falr 1. 4 to 5
Tea_c_hers Lounge _ with aggregate ;
_ surf_a_c_e l
Starnbaugh'§dilding, 2,§§1'_00=est. j l\/|etai panels ov_e'r Unknown Poor 3 1t02
west wing (old band ` wood shingles l _ _
nali__)__ __ ' _ ; : _ _ _
Gymnaslum - 7200 est-.<.; § i\/icdifi6d B\tumen 5 Uni<nown Poor 5 1 to'?._
D`ressing Room, Fleld l ` _
__Locker Roo_rn` ` l l _ _
"iéxrbool< cepanmeni §13,100 `F|Mo_dif_ied siiumen unknown i; ` Fair 3105
est. ` with aggregate 'l`-
S_urface i_ -
Warranty Data Warranty information was not availab

 

_ __ n _Gtr _ ' it
g".___(o|d. b__a_r_id hail) r`oo_f_s_ appeared -to. b_e in poor condition

_ _ri observed areas '_o`t etamlnatlon__ot t_h_e_ plies from t_h_"_e decking, interplay

 

"chn" `rddted p ' -- _
_c__ duit `dlspia _'c_t__' or broken drain guards evidence o__
' __ri_ous_ ecet|cns in `

 

   

 

n_n__p _p_e_r_|y constructs
_;.__cO_rid"` _di_s

s_- -
Bu|iding end the
' pouts b_e_- conflgured t_6 discharge

      

__ l`
_'w`ater sw _ rdr_n the bulldi'_ '- _
A dost for replacement of downspouts a_"h"d installation of s_piz`a\s'i"tl blocks l6'

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Property Conditlon_ Assessment-Terracon Project Number 92088503 mo
Memorlai M|ddle Schooi - Fherr, Texas -"-. n
February 22;12008

 
       

    

' ` includa_q'_ipin;s seemed sense _avr_

The original downspo.ut system on '-tl§t_`e` i_'__ex_tb,ook Departrnent building directs
rainfall rdnot'l directly onto the side cli-_'_th'__e bending _en__d_ bee reso_ited i_n stalnlr§`g of
the maeonr`y§'stlrfeces, Np spiesh'bjlijcits_"we`re§oij_s_"e§_rved. lt le re_i_:br___rir_`r`_ler_tde`_t_l that
the downspout system on the Te`xtb`ool< Dep_er-tme_rit building he replaced with
downspoots __t__i_tat direct water enlr__e_y__fr__o_m tit§e§_"§__t_n{di|_ surfaces end,_di_`e_`t_ci__t_arge the
water ewey"l from the _i;lti'iit_li_ g_ und_al_i_gns "6ri`d ohio preperly"`in's_t§_e_l_ie§d §’SP!.e'sh
biocits.- A cost for replacemerj_'_t_`-`__f___ti_ie""dewnspoots end Inetatlat_id'n lof spiash-
blocks is included in the Eetlmtif“e'i‘.i'Ré`palr Cost Ta_bie.

 

 

Generai Roofing f_§}uaii_lioat_|ons - This eve`iu`atlon`was"\§)§i§su_`§ai and 1§`:l§i§c§l§"r§ct lncit§i§`d§é n1§615tur_e§§6\§'§irv§_eys.
C_om_ments it is recommended that roof systems be inspected and evaluated on en annual

basis to determine a specific timeline for'repiecement. The opinions concerning
the timing ol’ roof replacement are based on observed visual conditipn, reported

age and expected__ service |ife. _ n__.

a oil - An existing weathered and aged roof membrane overlay
(recovsr:) will not have as long a service.ilfs as a complete tear `o'tl end
replacement Recornmending specific roof replacement type -and' design
requiree__-in-_depth testing-and evaluation that is not a part of this r-Repdrt's scope
of serv_lc_`ss, iFor purposes of th_ls leye| of assessment any"irep_lecemen_t is
assumed to be of the same co`nstrt'.ictidn-`typs §as"§th'at which is currently "in place.

_ ` ten s - Ongoing repe`irs"'snd- preventive maintenance should ba_
anticipated as part of routine operating maintenance the cost._.of_whicn can
increase _as the r ____lir_t_g ages_:_ No-sucit_ gosls__are estimated or included in the

` co_jsr_tebles. ` _ . - -
Ex . . 1 f : nn _ n is recon-.n¢.¢nrlded_ti‘let- the Client investigate if in-

piace roof warranties existl

 

interiors

       
   

p-

 

 

 

 

 

 

 

 

 

 

 

§$P¢_s¢ _ _ _ _ __ __
1 M§§tn entitling '§ _F§u§r§i_c§tio_n_ §§ _ §_Cies__s__rooms_,_ administration orlices, student |o__ci<ers. and library-§
§§F|oor § Terrazzo, vinyl tiles §(re§por§led asbestos containing).§§§\§lC§'i'§, §§§an§d

l _ '._c'-a‘§p°l__ _ __ __ =
' §§ Wa|i_s § § _ Elrlc|< veneer, painted CMU. painted plaster _ __
__ §§ § Ceiling § § § 2-l§oot by 4-f6'ot acoustical mineral tile suspended from concretel
.___ _ » __ _ _ structure

_Ma\n e`ulldlng`" "'§Fldbr§ § TeFrai:;o _ __ _

corr§d°rs _- Wai|s ' _ Bric_k llene_er, painted QMU_ painted plaster §
__ . .. -"'§~?n_"_ng _ `meetsseventeen sincere ..
l§Main Bui|dlng Fioor. _-_ Carp`et_,_viny_| tiles (reporte_d_Asbestos containing_);_\_/CT §

 

 

 

 

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Case 7:15-cv-OO465 Document 1-16 Fiied in TXSD on 11/06/15

Pr:operl.y Condltion Assessment-Terr§acon Proc|ect Number 920 8208503
itilemorlal Middle Schooi-

February 22, 2008

Pherr, Texas

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C-5149~14-H
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_,rl'_
-, Cl“s"°°ms _ Wall_s_1 - ._'.Pamted gypsum §§§wail §b§oard and plaster
§§|l § Ceiling l 2-§§foot §b§§y §4 §f§o6t acoustical §§rn§i§ner§ai tile suspended fr§or§n concrete
_`§'_ _ _ _ -i' structure _ _
§Adr§nll'§\lst§rél§tl§dii |_ §Fioor§§ _ Cerpet over concrete support flooring
___ Wel|_s F’__ainted gypsum wall board
- §§Cei|l§ng 2§§-foot by 4- foot- acoustical mineral tile e§uspe§n_§d6§d§ fro§m concrete '
_ _ -_ structure
Maln Bui|dlng _Fi_g_)_o_r_______ § lCe_ram§§r_:§__tl|e § _§ §§§§§§ __
1 R“"°°"" ewans _ Pal_r_ned cM__u _
§§Cel|lng §§ 2-foot by 4§-foot acoustical §§§rn§i§nerai t§il_e§ suspended from §co§ncret§§e_ §'
§__ structure
b_svatorles § § §_ Plastic§§la§§§mlnate with por§c§:eia§i§r§\§__ sinks §§ § __
§.Toliet Pertltions __ Palnted CMU §_ _
§Fi§xt§ure6§§ Boy' s. generally twc' or three iav'atories, two to three ur|naisl three '
. tollets; Giri’ s. three lavatories, four to five toilets; Teache§r"e' §
_ Lounge, one male and female bathroom containing one lavatory
and one toilet
Cafeteria§§ `_§F§uncti§§dn- Stu_d§§e§n§t seating area._ servng aree, and_kitchen _
'- Eioor _VCT_ _ __
`Wa|l§s _ Brici< veneer, painted Ci'vi§§LJ§ painted _p__la_st§e§r
' Ce_iilng § 2- foot §b§y §4-foot acoustical mineral §t§i§ie suspended §fror§r§\§ 6§o§ncret§§e§ §§
_ _ ' stru_ctu__re_ _ _____
` R§eetroom fixtures§ ' Boy§’ s, generally two§§ or §§t§h§r§ee §i§ava§torie§s. two to thre§§6 urina|s§. §l§;hre§e§§§ -
§ ; toilets_; Giri‘s three iavetoriesl tour to live tollets; Steil' restroom,
§ one lavatory §and one tol|_.et __ _
§G§ymnasium :F_unctlo_n Gyr__nnas_ium and locker room/dressing rooms
|Floor _ Res\lient flooring
l1_illl_aiis __ Palnted CMU(conc__ret<§_a§ masonry__unit}__. painted plaster _
_ Ceiling____ Tectum roof deck insulation tile attached to r_o_of structure____
§ Dressing §§ F|oor Carami¢t“°
ieuilding ':'.Wa‘"S . '- §§
- gel“ng Open berloist t_o roof deck
Lavator§es §§ Plas§t§|c laminate with porcelain sinks ' §'§§H'W§§
Toi\et'par§§tions " _P_ainted CM§§U; piastu: lam1nateetGymnasium
l ;. i§=i)ttures § B§oy'.s generally tw__o or three iavatoriee rtwo t§§o§ §§thre§e urinals§ three
§_ _ _ _ _ tollets; Giri_`.s three iavetories four to five toilets
_Fieid Locker _ '; Functlon Abandone'd Fleid House

 

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Case 7:15-cv-OO465 Document 1-16 Filed in TXSD on 11/06/15

Property Condltlon Assessment-Tarraoon Pro|ect Number 9208850'._’,

Momorlal lll_ilddle school -» Pharr, To:tal

F_obruary 22, 2008

   
   

  

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1'Fioor __ _! -_',_'lfl_r\y_i tiles_(_repo_rted Asbesto_s containinq). VCT, sealed concrete |
'-Wails_ _ _ _'Brlc`i< veneer. painted 'C'_)_'MU; painted plaster §§ §§
Cetilng §, E>:pcsed to wood structure
§ Classroom '_§Func§t§ion' lTvvo classrooms and storage
_ |Flo_cr _ t VCT _
_|_Wl_ai`ts ""P`al"n"té`d Clle ` _ _ __ __ __ "__
Ceil_ing` l -2_-fo_ot by=¢l-foot:acousticai mineral tile suspended from concrete
__ - structure _ _ ;
Stambaugh § F§unctlon Nine cias_srooms; cooking ia_b; teacher workroom; student §_
Bui|dlng _ restroom`s
'_'e_Floor _t_'.¥a_rp_§et_. VCT ___
_ '_wells l aaran crv_\u _ _ _ _ _ __
§' i_Cei§iing 1 2-,foot by 4-foot acoustical mineral tile suspended from concrete
1 l _ ' structure _ _
` '1 Restrooms § B.o_.y'.s, generally two lavatories, two urinals, three toilets; Giri's,
|1 three iavatortes, five tollets; Staff restroom, one lavatory and one
_ _ l i<?_|l°f- _ _ '
C|assroom §§ -§- Functior'i§ Two classrooms-
,, Annoxll : -- - ..
_'1 . Floor ch
i _ __
|; - Walis Painted CMU
t im§eil§ln"g § 2“i'oot'by 111-foot acoustical mineral tile suspended'from concrete .
.| 'Textb..¢?k_ Funct_i_on _ `Sto§rage, textbook dlstributlon_warahouse,` she repair shop `§
l g:=::'l§::em iF|§oor '.V|nyl tiles (reported Asbestos containing_), VCT, sealed concrete {' '
`ii § \_i_Vails§§_ § l?¢ri'_r::i<l veneer,_ painted CM_l.l,__pa_i___r__lted plaster
§ § Celllng §§Acoustic'aimmlnerei_ tile attached-ito concrete structure and open`§
' _ _ __ il ceilings to structure in warehouse spaces. __ ____________ ..
__ Restro'or_ns ;§Boy's, generally two or three lavatories, two to three unnals, three _;
l ! toilets: Giri's. three la'vatoriea. four to five tollets; Teacher’s"-
-: _ _ __ _ __ :-l _restroom, one lavatory and one to_ilet. _ 1
_ \_Nater § Representative observations revealed no obvious visual indications of the presence of;
lntrusionIMold excessive moisture or mold activity except for the vacant area below grade area of the
__ li\rtaln B_u_i_|ding_. .-

 

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C-5149-14-H
Property Cond|tlon Assessment -Terracon project Number 92088503
Mernorla\ _Mldd|e School- Pharr, Terxas
Februar.y 22, 2008

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recommended jeffl dem"|l`t\on e` `_t§
ashes `_e conteln|ng _n_1_ §1'_1e1`

 

the V ee_ nd_ _`c':_o§§tlcal ceiling 1119 1a re
_m'§§_t. j_'._t__\e _W_el!§_ 1r_1 _th_e' cafeteria building are recommended
. . n __

. §. "§§
1l __The cel_llng__ grid§.-_ 'ani'l| sequence

 

Tables_ T__h`e chlidr'e'n s enc_l_ §taff ces1r_o
inc_|_ u`_c_i§ _ h` the Estlrnated Ra`p‘a`ir ¢§§._t_ T§b_l`e's.
recommended f__e`r removal §§___ § maintenance _§net.

18

the s`h_`bp__ §`reas_ of the buildings=; ’ §§t"§f\mciude§- in ria Es\lmeted R§palr Co%t _

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_e recommended for renovation Acee`fis '

 

 

commanded fo_`r _'de` 1iti_on _a'hd

 

        

 

O_ld items stored _in -1he Bu|ldlng ere

 

 

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Property qondition Assessment-Terracon Pro]ect _Number 92088503 fm
|iiiemorla| M|c_id|e Schooi - Phnrr, Taxas 1re
February 22, 2008

lE. lli‘iechanicsl, E|ectrlcal_ and Piumbing Sy'stems

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n

     

HVAC ' Genifal Dds¢|'lpl‘.idl't "
The buildings are provided with split systems comprised of exterior condenslng units
end interior air handling units (AHUs); packaged, roof mounted heating and cooling
units (RTUe); and two-pipe AHUs with chilled water coolingihot water heating systems
Direci expansion (DX] cooling is provided by each of the split systems or RTUs.
Heating in the split systems is provided by heat pump operation and auxiliary electric
heat. The two-pipe AHUs contain one set of,oolls for either chilled water cooling o`r" hotl
water heating. A portion of the buildings utilize natural gas-fired unit heaters for heated
only areas. Conditloned air from each split system and RTU is delivered through sheet
metal and flexible ductwork connected to` ceiling mounted diffusers or side weil
discharge air grillea in the interior areas. Return air ls routed to each split system and
two-pipe AHU through louvered griiies or sheet metal return air _d_ucts. Th__e_ RTUs
utilize'oe|iing mounted return air gr|i|es that are duct`ed or open to the ceiling pienums
tor`routlng of return air to the units. Outside air for ventilation is generally introduced
through building infiltration or by lntake`s-.the RTUs for blending with return air. 'Roof
mounted exhaust fans connect to ceiling mounted air grillea in the restrooms to provide
building exhaust

Main Bui|dlng

The ivtain Bui|dlng contains three floors with classrooms. oftlces, and ltbrary. The
building contains ten two-pipe AHUs with a combination chilled water cooling and hot
water heating ooil. Chliled water is provided by two Cenrier Modei SOGTNOBO
reciprocating water chill`ers installed in 2001. Each chliier is rated for approximately
bill-tone each._ Hot_water is provided by a Rite boiler installed_|_n 1986‘ ‘l_'lhe_ boiler is
rated for 2,250,-000-btuh. A ‘l‘/.l~hp`encl suction pump provides water pressure and
chilled water flow through each chl||er. A 15»_hp pump provides water pressure and
flow through the two»pipe AHUs. The ohl|iers, boller, and pumps are located in the
mechanical room adjacent to the Gafeterla Building. Chilled or hot water ie'supplied to
the main building through insulated copper piping routed underground to the building
than up the'west building face to the roof before being distributed down to each two-
pipe AHU. The building also contains one Wes!inghouse split system that provides
heating and cooling to the library on the first ticor that utilizes a |nterio_r, ceiling
suspended AHU and condensing unit located at grade level on the south side of the
buiidlng.

CafeterlaiB`ulidin`g

The Caieterla is supplied with heating and coating by two split systems comprised of
interior Westinghouse AHUs and Ruud condensing units installed at grade level
adiacent to the buiidlng. The split systems are rated at epproximateiy.E-tons each.
One hmo-pipe AHU providing chilled water coolingi'hot water heating manufactured by
Trane ls installed |n the mechanical room end serves the dining area.

Toxtbook Departm'ent Bui|dlng

Th_e' Textbooit Department contains a_ warehouse storage space for textbooks The
warehouse spaces are provided with four split systems with root mounted con_densing
units and AHUs mounted in interior closets. The split systems contain two til-ton
condensing units manufactured by Carn'er and two 12 ‘/i ~ton condensing units
manufactured by Trane. The split systeme`contain Tr'ane AHUs with DX cooling coils
that are installed in mechanical rooms. `

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Property Conditlon Assessment*Terracon Pro]ect Number 92088503 ,
I'¢‘|errtorial |i'lidd|e School - Pharr, Texas .|rerracon
Febr`uary 22, 200_8

 

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The Classroom Annex l contains three classrooms and one storage room. The
classrooms are each provided with cooling by one split system rated at approximately
4~tons that were manufactured by Fedders and Ruuo'. A Modlne natural gas-tired unit
heater ls suspended from the ceiling in the classrooms for heating

Ciassroom Anne'x ll

The Ciassr'oom Annex Bui|dlng il contains one classroom and one storage room. The
classroom end storage room are each provided with split systems comprised of a
i¢i_/estinghouse AHU installed in an interior closet and Lennox oondens|ng units
mounted at grade level adjacent to the buiidlng. The split systems are rated for
approximately tva-tons eaoh. A Modlnefnaturai gas-fired unit heater is suspended
from the ceiling ln the classroom space for heating.

Starnbaugh Bui|dlng

The Stambeugh Buiiding contains a secure-storage roomll nine classrooms, and a
restroom addition. The building is provided with heating and cooling by two RTUs
manufactured by GE that are rated for til-tons esch. An additional packagedl wall
mounted, heating and cooling unit is provided for heating end cooling of the restrocms.
Theseas'-:'-'ihseilease-the`:`:ner'.`-. ' t '

Buildlng;_wei`e'=i-ini-z»pe'_q"r_ anguish _g;'
the co"l|s`en`d _as,l_ngs'f-""|'ii_i_ _iii_l_'liti,$ _c_g_' _ '
_ . acomm___nd'ed `th"at*_t_

     
  
 

        

 

 

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'FhBSP[“ S_.Y§Wiil ccndel'.`t_`§'|'ng_lun`iis" ore _ _
j`_net_esiimafadii.<>)-require,_rsplace'r.ne, ' _ H
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_ 'duil_hgthe-,eta_iustion period is cost is-l_ihei_adad;_.in,the _E_stlm_ated R_spair._casf-Iabl¢-

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C-51 49-1 4-H
Propsrty condition Assessment-Tsrracon Pro]ect Number 92083503
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February` 22, 2008

 
  
  

        

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_. . _p ._ _ '.Bteter_.'.w t _ _ '1986; i§'lrl
fair cpr_idltio__n, and_ie_recomrnsnded for_rep|a__ __ment_ with a four pipe AHU with separate
t`i'eatlr)g;'___a_pd' _eo' rig `co|lsf*id_i'_i_rl_g the’f`é_i"allisftibn 'perlqd.__. A cost is included in the
E€tirit’#ted Re_ _'“ "Co§:t|'Tt;t`lil".' _' ` Fdl|_i`;ei_`._*,_rlhg_`___ri_epair§!".._t`esting and air balancing is
rsco'ti'-ii¢i\de‘d.-' _A'- iii is 'inc_ijudsd’ip tire Est_lnisad'aqpair cost 'rabr».

'réinbask oep¢:iiiri{a'hr sending

The _Qarrie__r split system conde[ising units__are approximately 13-years oi; age and in fair
gonditid_itii_"'The"Tianecondensan anita `are_ZB-yrs`of,_ag_e_.and ln fair condition. Basé`d

ti_jr_i mg age aaq'-tehdrs_qn'sr rhg'§__bondsirsind’iihie,__¢epié¢sment rs estimated during the
ei,r§_iuatld'ti_'__-__peiidd. A cost is included in the Es`timated` Repair Cost Table._

Two additional GE-l T*/z-ton RT'Us were observed on the roof of the Textbook
Departrnent Buitdin'g that were reportedly not in service and are recommended for
removal. A cost is included in the Eot_i_ms_te_d Repair C_oqt Tabls.

Fol|ow_|_ng repairs, testing la_nc_l air bal_anclng:le recommended A costle included in the
Estir_riq_ibg__aapai__r"-cqscjraelpl_, " " ' '

Cias_sroom Anr`i_e`x l z .

T\ii_ro of the "_spiit"sy§ter'ns`*were iristai|ed` in` ‘i_QB`B, are in tait `éondltlon, and are estimated
.:tohrequlre=§répiaoe_m_ent during ;§the__ evaluation pe_r_iod." A costle included ln_ the
Eeflm'sts`d___-Bep`a','lfj-j'-Go's'tTab_|e`." ~ FoiidtNihg.@repaife`-i_ testing end air balancing is
mcditih`tei'i_de`d, .A-oost:::is"|nciuded..in.the"_§stlmats_r:.t!_i§epair Qost Table. The Rudd
§p`§iii`_r_eya_te`m -`w . etalled`ip 2900,` ls lnr-:good:-`sonditie_r_i. '_and not estimated to require
_ ' _the` _eiraiu'eden`_;petiod. .- T.he: natural gas-tired unit heaters
men cture byligf ` e_.‘i_n lgood condition and*not estimated to require replacement

suited he ar us` njp_e`ridd`-- --'l

The" e" W`ater two-pi s AHU serving th

 

 
  
 

 

   
    
  
 
  
  
 
 
 

 

 

     

 
  

'i_ j st size§_'£énnax-:\'_qend_enairig_-:.\_unn,s risher-westinghouse AHus. The
con sinai-units re installed in 1985'-"-"alqdare. in fair 'con_dit|on- The Westinghouee
‘ Al-;li.!'s;§;we're`,,in_s .i§iticr to 1985-tend -srje in talr condition Both split systems are

e_'stl' ' editi:`¢"‘i_"e'q:uire_i[ep|a:cement--`durln`g-t_he_ evaluation --period. A cost is lnciuded in
the -j'_E im__nt_edr_t`lepa`ir_i`t'.;oet 'l,'a_b_le'..-».'Eeliowing“irepat[s,- lltesting and air balancing is
.=_gecdmmendt_id_.-_ ai¢g_st is1includedi_ih'-'-t.h§e=r§aftlnieted Re"tialr Cost Table. T-he.natural
gas-tired u;rl\i_t§ih”eat_ei"_"menuf;acture`d by Modir`;e` is ih good condition and not estimated to
require repta`c_ement!during`the evaluation perigt_i. . - `

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r'r?i"h_ two RTUs` se ng the_j-'S_tambau_gti;_ _uilding _\_Nel‘a_; installed in 1981, are in fair
conditidn.`.-"a'nd'e " etirn'_at_e_tl to.ire'quire isplacement,`c;i::urlrig the evaiuation perlod.- A
cost.-_l_a__._ineiuded'-in_ ja Eeltintdte`c'l`~|iteti_allfr Cds`_t _Tab|e. "fThe wall mounted packaged
' h__` ‘-'..j-__nd-'§}-'oo_dl__i`ng. 'u`nit!;-.--,.een'ring_` the restroom addition was installed during
'F"c'-ion __ '_rid'r_jltloh, -,l_s,l_n"_falr conditiori, '-'e'n'd is _ 'ai_s"o‘ estimated 'to' require replacement during
.ths_ .siisiust_to_ijr.ip‘grled. -- -A~;eesc rs-_~tneiud_ed'_=in the estimated Repair coat .Tahls.
Foilowln"g repairs._testing and air balancing ls- recommended A cost is In'c|uded`ln the
Eetirnated Repalr Cost Ta`ble. l. l_ , a
Outside__A_i[.'Ventilation

.Rfeia`ted to~oulside air venti`le:itir'),ri.'E no air_qua|iiy measurements were taken. however,
the'itit:isemed»ve'ntilatlon does not appear -to meet'-"ih"e ASHRAE or building code
_.__r_egu_tre_rnen_ts dot _-minimum ventilatlori'-_L _ Dsdle_`ated too¢percont outside _air

  

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Automatic HVA
Controls

Plumblng
Systems

Plumb'ing
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;_'Ti`ie.-'-sae- appeared
sine '

P C-5149-14-H

roperty Conditlon Assessment-Torracon Pro]ect Number 92088503

iillemorial Middle Schoo| - Pherr. Texas `-"-e"acnn
Fe`bruary 22, 2008

 

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l:_5;.___11 s sept _r__-ine__usin_ sciencesrecommended acting 'ii_'_i_g,rnstsi_i_@ii¢p that
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` " l' sia|ii,r._ig_.ou_teid_e|_air-__=._ ke,_h` __ds`ls e'comr"r_i_e'ndedliior_:the¢._RT_U§:§`e_rying;the
.;Buiidl'ric.- t i_s-in¢i`iidiid\n h'@.'Eii.ti\hi.'tirti"R' sii'-"-'csst_"l':iih.le.-
` ` " " `_ai'iclrig isl*éi:tli'rll'i_il ded`. ' ` " ' " " "

 
  
    
 
 

   

 

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. s-Esiimeisd'Rs'na_rrcesi'r_gi___rg.

 

 

  

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c `T"he split sys-ite:ms`;"'R`i"Us;` ` rid "two`-pipe"'c'h'l||'eciihot water cooling end`iieat|ng systems

are reportedly controlled by an American Automstrix Sage Max building automation
system (BAS) that provides scheduled run times for the HVAC equipment The BAS
has an operator station at the Pharr-san .iuan~Alamo lSD administration ofiice that
communicates with the remote panels et the school by telephone modem.
Temperature control ls provided by conventional well mounted electric thermostats.

   

 

 

     

re '-'s_s_j~in '~gei>_"s'_-'eeri;iiiion=-with_neiiépqries_-rprc_e_iem' sir

_ __ is riot
reel sqi__du'r'__i__ns.._..s~`e_ catino-sen _

 

 

 

The plum ng systemsinc|udethe municipal rcir-nestle walter"servi&ce.-?domestlcs"coid
and hot water piping systems, and sanitary sewer system including the soil. waste,» and
vent piping,

The building is supplied with domestic water'from the municipal water main connecting

to the restrooms. drinking fountaine, kitchen. cafeteris. service cutlets, make-up water
to chilledihot water systems. and domestic water heaters.

The sanitary sewer system consists of cast-iron and ABS soli', waste, and vent piping
connecting to the restrooms, iioordrains_. and kitchen.

 

  

somewhere
sii¢'waie_rsupsiy;;wss show

s assessor`§i_l-,,;},- __ _
a__r_\u_fe'_r;:_`tured item _ _e'¢t?te-- so y _ ' '

      

\'-".-'_" n §_,',‘;`-" -i"E-'--"- -'--|-'.'--"1\ _-_;. l ._._..... _
The plumbing fixtures are commercial grade and typical `tdr this type of`ap'p|ic'ation.
The Main Buiiding contains two sets 01' Boys' end G|r|s‘ restrooms with flush valve
fixtures and single handle cold water faucets. Two sets of Mens‘ end Womens' faculty
restrooms, each with one f|_u_sh valve type toilet and one iavatory. are located in the
administration ottices-of the Maln Bui|dlng. Additional Boys' and Gir|e' rsstrooms ere
located in the Restrocm Additi_on of the Stambaugh Buildlng. Tollets are floor or wall
mountedl Lavatorles are wall mounted

22

  

 

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Kitchen
Equlpment

Dome`stic Water
Heaters

Natural Gas
$P»W'¢.¢

Ele'ctr|cal Serv|ce

Emergency
Power

C-5149-14-H

Property Condltlon Assessment-Terracon Pro|ect Nurr`\b`er 92088503 m
Memorla`| Mlddle School - Pharr, Texas 1r. n
February 22, 2008

      

 

 

initials _u _e- ' ii _ _ " i.. .

_ fair conditidn._ -ltl |s._e_s__i_lmeted that a number of plumbing
fixtures _wl|_l`_requlre l`rep_l__`c'__'rnc_ii_'n_t___pr_lor to_,._rp-ocbilpency.,_ An allowance has been
.._l_lj_cl":"d d`-i`n -th`s_ I_Ee}tim'a_t`s_c:ll R§pdir_:_t)_e_sft.'-Tabie..'=_'.Tti`éi':-‘ifiii‘_r_t_ures will require general
, `n"i_ain ncepl"ic_jr to___re-dccupeitcy:_=including servicing _`oi" replacing valves and cleaning
g_r_ei_ne'-'a' r§t'ef rdu_t_lne__nialnt_enenc ":'t?tie;-. plumbing fixtures irl ll'is remaining
buildings_____ppee_r_e`d__to be _ln gond._to raising ` on. fun`clien_si, and without visible leslie
iii-ls estimated that the piumbirjig-tlxtut'es_i§in` sprai_nin`g' buildings will require routine
maintenance durlncthee_vaiustion period '- ` `:‘

`iTh Ll_`mbili`£l"i?ifll__ , . .
approximately 2002 "aind are_; in1 `

  

          
  
 

 

_ 'T_he' 'Cafeteria`Bu'll;d|n'g""o:o?nteins' all-commercial kitchen The kitchen equipment
includes reach-in style refrigerators and freezers; warmers end serving tables; two and_
three compartment sinks; a commercial dishwasher and grinder; worlttables; and
shelving.

 

 

The' kitchen equipment appeared ton operational and in good condition. ihs equipment
is estimated to require only routine maintenance during the evaluation perl_o'd.

 

The domestic hot water systems 's`ervirrg"tl'ie festro`o_ms includes electric water heaters
operating on municipal water pressure and installed in ceiling cavities over restroom
areas. Additlonal electric water heaters are installed in the _kitchen, cooking lab,'end
gymn_aaium. ` ` '

'A'p'ortion' ofthe'watsr'heate'rs heve"be'en replaced a's"heeded, Furtrrer"'r'epleceirrent of '
water heaters _ln the occupied areas ls_. estimated__;durln`g th`e evaluation period ss
routine maintenancel Replacement-"-of-waterheaters-in the Maln Bui|dlng and the
Gymnas|urp is estimated to- be required prior to re'-'occupancy. A costle included in the
Est`lmated__Repa_|lr _Cost 'l'able. :_

Netural gas-service ls provided to theis-ita and utilized by"the heating hot watcr'bo'iler inl
the central plant and b'y unit heaters installed:_i_r_t occupied spaces.

Eie`ctrlcel"s`ervlca.`ls supplied by utility owned pole and pad mb`unted transformers to
the buil`dlngs. load mounted transformers are installed on the southwest elevation of
the Main Buil_dlng. The transformers supply 208l120-volt. three phase, four-wire
service to an 800-emp main switchgear panel with 800-emp circuit breaker located in s
mechanical room on the lower floor of the Maln Buildlng. The main switchgear penal
supplies 30, 100, and 200-amp fused disconnects that supply 208.~'120-volt distribution
panels for llghtlng. receptacles. HVAC, kitchen equipment and general uses. The
service is _rnelered at the west elevation o_f the Maln Buildlng and exterior walls of other
bulldings. Observed distribution wiring ls copper.

The;eléctf__l.¢el`"eqt_.l_ipii_i_e'ht`\`i`_ar_ies= in i!:§i$!.*fri:ii'i_"i__afi `unl$fr'_€)i;iiri time aiter orlgin`a`i`cdhstru`ctio`r`l`
t`c;`r"` _ij"l`_r`>al __dl`_sddn_n§e,ct_s_§ia`ri_d_._ wit tl?'ei_a`r"il_js_ ap "tly installed during building
ri_t:l_dlt__lo s. _Eepr`esei'_itatives_of`_l_'-.‘ rif an `Juc`i_`n'-"'fil mo_ - §`D' did not report that routine

m_d|_l_r_t ar"r` r_`infrered;lherr`i'ial"s'csns',of.th_e`_-s_ledt_r_lcel;` _ulpment had;been perlormed

eddie . raises _i€¢.¢“lt"_isiiiie el _r_i`..iiliielstl:tii?r, assn and mler advising of
li"lc_a|`_`_`_eqt.l`lpm_a__`nt `_d""d"rs'plsf'c`e'rhei"lt`tjl"?wealr_:"cir`ctlit breakers and devices is

 

 

     

  
   

       
  

 

)_u

ind elec __ _

conducted--pricr:to_ re~occupsncy. A costle included in :_the Estlmate_'p__.lit_apel_r Cost
Ta_ble. Further;=an electrical load:';atudy to'.z._e`stimete jth'e load requirement_s_of the
schools after re'eoccupancy ls' recommended limit additional electer equipment le

estimated tof be required-w A cost ls included `in_'.the iEatlm__atad Repslr Ccst Tab'l`o.

 

--An lerri'er'gency"'ge:'rierator is riot provide-dim Electnlc'-'powered"e'me`rgency exit 'slgnag`e"
and egress lighting with battery back-up are installed in corridors.

 

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C-51 49-14-H
Prope`rty Condition Assessment-_Torracon Pro]ect Number 92088503
Memoria| Middl‘e‘School - Pharr, Taxas -"-E"acnn
Febr-uary 22, 2008

 

 

  
  
  
 

 

ii .\ “*.-*‘ sr
xit' 'slghag"e" dni:l-"'dgre"s"s__ i"g'htir_)_g_;_-yre!“e`

- 'Or_~.. emerser)cyeprrer_versrv pizei_< w' '
‘ -]rrlr_tl_t`_oi'lelj closet of__th:e S_t'ei__`tfi`b_`eug_i`_\i_:;__Bui`idlr}_g__._-=_and`_"?l`s
__The§-ismer_sener.lighting_bst.lsry david "In":"-fii` *-W's!n-
` " " d ¢`.`.Y'QS""‘B`T“@ii"s:e"ii`\tr- ___»_‘i_-iw=_‘f`"iii

 
  
 
   

  
      

|_n`_c`_ilii_ied"lnl_e _ _ _ _ _ i__é-_ _ _
interior lightin§“errméruy uriiize's"` " 2_1-;reer's§€_4.reel ree'es'séd'nxmres wirh"'rra'heiu`eem -
lenses and 1-fcot by B-toot fixtures ceiling mounted fixtures Tl'he lighting li'i:rtures were
observed to use type T-S fluorescent lamps and electronic bal|ssts _in' administrative
offices. corrld_ors, ciassrcoms. kitchen. and cafeteria i-iigh intensity discharge (H|D)

fixtures are installed 'in the Gyrnnaslurn.

Exterlor lighting is provided by building mounted wall pack lighting and byr po`ie`

mounted lighting controlled by tllrrl"e'i'sa '

r,!_g_,-leif_élsf_‘v\ilti`ii_r_r_,__ `__e_`r'sdrjr_\i_i_gl§`_tr§itl\_re¢ of_i_ic`es-'-'" ""niddr-`s !_claserm§.__.Gy_mn"ssiurn,

'_nd_'Oeif§t_eria cit 's`red"td_,“hi_§-`rbé`§_']c_.`iij`ab|e'e_ __epp_ prlai`éf-fo __l_tslin_tg__r__rd_ed_`ue'ei`
lep“‘e’_srj=te be__=_r__unstrongrig-rene;rjg___gqodl:_eenelr_ieq.-:_-_ n ie-r_eeomri~iéndedi;.tr_r,e;i

ilghting'f|x`t]_ur_ed:"j-}'n_.the iiiia'|n:Bu " ` ` "`_, cleem_:e__)',d`:§nd gred';fb'_r

L|ghtlng:§;

 

    
 
  

          
  
   

s rising trier lnerude_" ee"hddi"r" and naming

 

   
  
      

Data and
Communlca_tlon_
Service

 

 

_.`_ _ -|-r
\4. \.

wlndov€.`s`nd r`nctlon sensors were observed

B"u"d|n'g Se¢;urity in i`.h_e CIBSSIDOI‘D Arln x i oniy. A

  
  
 

"sessneedirrin"`¢'¢nd“ni':- err
security devices is expand__._sriiraraee?te'

 

  

 
      
 
 

   
  

   
 
 
    

  
 
   

 

      
     

F __ Fi`ra _Pro`t_e_ct|on anc_l__ L-ife Ssi'etg,l System_s __
“ ' " ' "' '_ -- ->. ____-,.-.*- :;';J;__r'~_-:e:.-_.- _.r § - ' -f "

iiii'.z“i’d"ti”i~f .- __ ,__ _ tide _
Autcmatic Fire The buildings do not contain engineered 's`utomstic fire sprnléler systems Fire
Sprinkler extinguishers were observed in corridors and classrooms of the occupied buildings

System located along public streets bordering the propert¥.

" _ s_iG_

 

   

edmund ha
_i____rje-_occi`lpancy. __ __

24

 

 

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C-51 49-1 4-H
Preperty Conditlon Assessment-Terracon Project Number 92088503 m
lllierrioi'|al Mldd|e School - Pharr, Texas " 1b
Fsbruary 22, 20_08

 
  
 
 

   
 
     
     

     

 

   

 

...... _ __ §§ ___ _ l __ * __ a .i _.. ._ _ ._| _
E_mergency Eri_‘ier`gei_'icy exit and egress lghting_ are installed in the corridors and at building exiis. _
naming _ _'l_`he emergency exit and egress lighting are powered by battery back¢up.

 
  

' ribl_i_ei- iii '\il:ilrei'se_l_ieiai_iy__in_§g'oeii'coiiciiiieri
. _ ' ' * l ltv d as weinstein
F|l"e Aiarm A tire alarm control penal [FACF') was not observed at the.buildings on slte. initiation
Control Pane| and signaling devices were observed in the liiiain Bu|idi`ng and Gymnaslurn that were
reportedly connected to s FACP thet`hss since been removed
Ari FAC`.F‘l is roccmm`ended_for in`i§ta_li£ldon`jln__ti`l`e"ivlsln Bui|dlng and the other buildings to
comply with the requirements of the international Bui|dlng Code. R_epiacsment of
existing lnitiation and signaling :i~clevlcss andi the installation additional devices are
estimated to be required in th_e Main-Buiiding_en`d.olher buildings prior to re-occupency.
A q_o__r_rt is included iri_ tile Estlr_natec_i Re_p_eir G__c`i_st_ _T_sbie.

Sm'okelHaat l Smoke detectors were not' observed
Deteotors

 

__‘_l"_l"i_'te_;i__r_'i__st_iai_'|_a’_¢_l_g)rl_`]dil smoke 'dete`ctors:`lsesttmatedtobe required prior to re=occtipancy.- A
misi“¢='.'i'l'<'*€d in mefellestes'B°ie!iezell-liles i _

Pul| Stations ""Puii stations were observed along exit route_e____i__n the l\/i__a'ln Buiiding and G_yrn_nasium.:

' Th?_ P¥i_lliial§\'l§il$"h_§`l'i“e"§§r to"b_é 'ln"'f§`i_r" condition _'R'ep_l__a‘osr_"ne’r_i_`_t cf existing initiation-devices
"anli installation additional devices is estimated -'to be"requireci in-ih'e.-iilain =s_'i-iii_cii_ng and
other buildings prior to re-occupancy. A_opst is included in the Estlmated Rep`s'ir Cost

  
 

         

 

ri_d -\`i_ii ounted alarm iisshersr'horns ln

Alarm __ _ _ __ _ ._
FlasherslHor"ns §t_'l‘-i`e__.i_ l[i_ B`ulltiitlg _ __i‘l'ei"-`_|_‘._ii.lilr‘.i_inge. "'it__i_s`_"_r_$"sti_rl‘_lilitédf"tl_‘ie_t`§iti"obs lighting will be required
to b`e added lrt--tl'i`ta_1 Ma_i¥i- Bu_i_i_ding snd.otherebui_ldings-at-;ADA a_ri_d._. |nt_e_r_oa_ti_qlle_i__£l_uliding

Co"de required heights end ;sp_a_cin_"g_ p__rl o renoocupeney-: A"'eos`t'ie' included in the
E“Fl'.“%i?d B°-P"'-!-C°_!_*."_`°h'°-_ _

 

G. Co'rnp|ia_nce -w|th Code and Re_guiations

 

 

 

 

 

 

 

 

nom _ __c___§_m______é_m_ __________ __ ________ ______ ___

l Building Dept. code "Reqij"éste'd and i"`iotrec'eive""d` " _ " ' :____.____
V'°'E"°“B _ _ _ __ _
Zoning Dept; code '_ Reques_fed end not_'reri_sived` _ ` " ____
V'°‘a"°"a __ _ _u . '_`:_ ` ' ' "
Parklng Requirements 1 'R`ec_t'ues_t§d_e_r_id not `r`ec§_iyed

Cerilficate of Requsstedendnoti"ecelved" _ _ _

OGQi_-lpan¢y _ '_. " '_

Fire Code Vioiatlons ` .Rst`l`u_es`led-end"no`t`received ._:_. ;; __
Zonln'g C|assllicatlon ` Pharr-San Juai_'i__zonir'i'gfo'_r_schoois' __ _ _ _
Occupancy __qu_uesled and not received

 

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C-5149-14-H
Proporty Condltion Assessment-Terracon Pro|ect Number 92088503
Memor|e| M|ddle Schoo| - Pherr, Texas .|re"ar`on
Februery -2_2, 2008
Fiood Zone The property lies in 'Zor'le B of the EEiviA flood plain mep_ NFlP Community

Number 480347, panel _480347-00050 dated OGtober 19, 1932. The building is

not_loca_ted in a special flood hazard area. __________ __________ _________ _______ ____
Seismic Zone According to the 1997 UBC, the eite relocated in Seismic Zone 0,' defined as an

area of low to moderate_probebility of damaging ground motion.

- -.-,¢»dw-.-"l-- r_-|r»»»..-_..._u¢-» ._.

26

 

 

 

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C-5149-14-H
Property Condltion Assessment-Terracon Pro]ect Number 92088503 1&"3:°”

Memorial illl|ddle School - Pha_rr, Texas
iF-ebruary 22, 2008

H. 'ADA

Acce`ssib|llty Related issues

During our site visit, a limited visual assessment for accessibility was made. Our Report defines the
physical barriers observed O_ur Op|nlon of Cost_s to provide general accessibility compliance are lncluded
in the ADA Cost Table of this Report. Our cursory review is not considered to be a full accessibility survey,
nor does it likely cover ali aspects of non-compliance

A full Aoc'essibiiity Compiiance Survey may reveal further aspects of the facility,_ which are not in
compliance Since compliance can have legal consequences we recommend that the Owner consult with
legal counsel prior to taking any actiorl.

Some states and municipalities have adopted building codes similar to the Falr Ho_using Act Amendments
of 1988 (FHAA] andlor Amerlcans with Disebiiities Act (ADA). in some |nstences. these code
requirements are more restrictive than the FHAA endlor ADA. Terracon‘s evaluation considered only the
FHAA andior ADA. es applicable to the subject taciiity.

A Co liance

The ADA is civil rights legislation enacted by the Un|ted States Congress enacted .luiy 26, 1990 end
effective January 26, 1992. The ADA is note building code. The U. S. Depart_rnent of Juslice has issued
ita Advanced Notlce of Proposed Rulemaklrlg, the first step toward development of rules adopting a new
ADAAG, published by the US Accees Boord in Juiy. 2904_ end is in a comment period until Januery, 2905.
Since the new ADAAG is not yet in effect as law. it was not considered for this Report.

A facility is sub|ect to the ADA New Construction requirements if a completed application for a building
permit, or permit extension lives filed after January 26_ 1992, and the facility was first occupied after
Jenuary 26. 1993. According to the ADA owners of buildings that were occupied prior _to .lsnuary 26,
1993 must, when lt readily achievable to do so, make reasonable efforts to remove barriers unless the
modlilcetion would create and undue burden. Oniy the OwnerlOperator can determine thls. Wa
recommend consultation with legal counsel and, if determined necessary. the development and
implementation of a plan for barrier removal that satisfies the requirements of the ADA.

Title i|`l ("Publlc Accommodations") of the ADA, divides buildings end facilities into two categories: "Pub|ic
Acoommodations" end "Cornmercia| Facll|ties." Pubilc Accommodations are intended for the general
public'e use. A Commerclai Faciiity is intended for a private business and its employees "Common" areas
at this facility are considered areas of -Public Accommoo'atlon. Administretive end service areas can be
classified as a Commerclel Fscllity_ and there is no obligation under the ADA to remove barriers except as
needed for the lsndi`crd's compliance with Title l of the ADA (Empioyment}_.

At this facility, the areas the Owner la responsible for ADA compliance are considered to bail

- Ex`terior route from e`ccesslbiejparking t_o accessible building entrances,

.- Exter|or route from a public street or bus stop to building entrances on site;
' interior public common area accessible route,

9 Bui|dlng common areas open to pubilc. including restroome

27

 

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C-5149-14-H
Property Conditlon Assessment-Terracon Project Nurnber 92088503 j _
Memorlal illllddle Sch'ool - Pharr, 1'exas 1|-€".¢°"
Februsry 22, 2008
' ` apaiacca_s_`_sren_i"rv' "
_ literal.Tler_r_r-Fanqan.-: a __ __
' __ * nom l wires rne" "ur£j" ' `_cemme`n¢s
__1*`- _ii\i"_l*i'ia ii_i_rtsfr _ _ _ ___ _ __ _ ' ` __ _ _
i `||-l_as an ADA survey previously been completed F X Not provided by district
. d_l_‘srthirv‘__rrr<>l=erlr? ' __ _ _. , __
2 l Have any ADA improvements been made to this _` X . | ; interior renovations `
'; propeny? i- § § l observed at the
t l= Sl___ambaugh Bui|dlng
-a.-. ___ __ - z El___ ani
3 ` Does ` `a` ` `Barrier ` R`en'loval Pla`n exist for the,i'§ X ` ` ` `
_ i_ property? ‘j: _ _ _ _ _ _ __ _ ____ ___
4 `!iHas ` lite ` `Eiarrler F`iemovai P`|en been-__i X
__..\| reviewedlapproved by an arms-length third party j'
|i_l such as an engineering firm, architectural firm il
_ _;§ building department or other _egency?___________ "' ___ _‘- __ _____ __ ll __ _ _ __ _ ________
5 5__ Has building ownership or building manegem_ent` X ._ No`ne reported.
i-' li reported receiving any ADA related complaints §
___ § :that have not been resolved? _ l __ i'_| _
_` ___t_i_____ '_|s any_illlgal_lon p_ending`_rela_t_ed _t_o A_Qa_iseues_? ` | __ X _ ‘5§ _ Noneji_er`_ldi`*téi'd.-
B-_ 'P'arkln_'g_ _--- . ... _. .. .,. . . - -' _. .' __ .'..'_ .__. . .,_ _ .
`1 Arc there sufii`cie`nt accessible parking spacesl ` X l Three spaces are
with respect to the total number of reportedE -' provided and four are
_ spaces? ' `_r_equlred. See Qost
..! _. _ __ . ._ . _ l ._ ____ _____ ___'_| __ ilTa_bl_B__s.
2 § Are there sufficient van-accessible parking spaces ! X
lt available {93 ln. wide by 60 ln. aisle)'? l _
' 3 __` Are accessible spaces marked '"vvith ther "`m)(" ' _"`Paint`l'nglstrlplng
T' international Syrnl:ol of Accessibi|ity? Are these| . required. See Ccst
signs reading “Van Access|ble_" at van speces? __§ ____ - _Tab|as.
4 ' 5 l"e there at least one accessible route provi`ded`_ "X "
within the boundary of the site from publicj _.
transportation stope, accessible parking spaces.!
passenger loading zones, if provided, and publici l
, streets and sidewalks? i
5 ' D`o cu`rbs on the accessible route have depressed ` X §
5 ramped curb cuts at drives,_ paths and drop-offs? " _
m 6 " Doés slgnage'ex|"st directing you to acces"e"§'ll:`le`l ' wit § " Addl`tlonels"|gnags
_~ parking and an accessible building entrance? ; needed. See Cost
_- _ _ __ _ | ='l'al_:i_les. __
c- arose _ - - z
~'1' `lf` there "|é "a`ra"rnp` from parking to an"accesslbi`s _ "`X " Ra`r`nps are not"" `
' building entrance, does it meet slope -i provided in the interiors
'. requirements? (1:12 slope or less?) - connecting to all three
§ floors and are
recommended See
. ` Cost Tab|es.
" 2"` Are"r`emps"`ionger than `6 lest compieté"`with " X _ `
l railings on both.sides? l "
3 § ls the width between railings st least 38 inches? ' X` ':
l_l _ ___

 

 

 

 

 

 

 

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Febr`uary 22, 2008

- Fharr, Texas

C-5149-14-H

Pro party Condltlon Assessment-Terracon Pro]ect Number 92088503
Memorlal Mlddle School

' hannooeee'lell_rrv

{ASTM Tl'ar ll Format)

`ll'erra:un

 

lfal"l‘l

YQS

No

NlA

Comments

 

-5 | le there a level landing for every 30 foot horizontal -
length or ramp at the top and at the bottom of 5
' tampa end emtoh_be_r_)l<e_? -

-; La`nctln`ge are required
:§_atramps. See Cost
`Tebl_e.e-_

 

D.

En_trancas!EJtlts -

 

` ls`the main eoce`ee|ble entrance doorway a`t least

 

: 32lnohes wlde? ,
" ll the main entrance la |nec`c`eeslb|e, are there!.

alternate accessible ontranoes?

 

Ce`\'n the alternate accessible entrance 'be used '; '
__ independently?

 

t then 48 lnchee above floor)? ,

le the door hardware easy to operate (lever,lpueh !
type hardware. no twlst|ng requlred and not higher

'_ No acoaee'lb'|'e

` hardware observed ln
_ Nlaln Bu|ldlng of other
: bulldlngs. See Cost

_ Teblos.

 

- ma men entry dqu other"rha'n"ravonmg' ease

eval|ab|e'?

 

m|nlmum space between the doors 48 lnches plus

 

 

E Paths of Tra\ral l

__t_h_e width of any door ewing|ng lnto the space?

 

1

. wlde enough for a wheelchalr (at least 36 inches
_ wlde)?

ls the rhaln path of travel free of obstruction end "

 

 

_ ! corridore?

reveal any obstacles (phones. fountelne. etc. l that |
protrude more than 4 lnches into walkways or'

D`c`)ea a v`letl`a`l `e`oan` `of` the rne`tn"p`ét`h of travel =

 

le at least one wheelehatr-aooeeslb|e publio'
telephone avalleble?

 

nra wheelchair-aceeeslbla faollltl`es (tollet rooms,
_ exits, eto. ) ldent|fled wlth eignaga?
i

l Signaga not present in

N|al`n or other bulldlnge.

 

"5

_.l ls there a path ot travel`thet does not require`"the"
;` use ofstalrs_?

See Coat Tablea.

 

F. Elevators

 

' Do the oall buttons have vlaual elgna|s to lndloate
when a call ls registered and answered?

Elevator not currently `
_| lnslalled and ls

' recommended See
. C_ost Tab|es.

 

"la'the""'_`uP'_"'burten above m_e_"o`owl$l__“ bottom _ e' `

 

_lnd_l_c:atln_g llo_o_r ehange?

. Are there vlsual and audible signals lnelcle cars l .'

 

' both jernbe of each holet way entranoe?

Are there standard ralsed and Brallle rnaklngs on

 

 

Do elevator doors have a reopening devlce that
wlll stop and reopen a car door lf an object or

 

 

person obstructs the door?

 

 

 

 

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C- 5149-14-H
Property Condltion Assessment-Terracon Pro]sct Number 92088503
Memor|aiMlddle Schoo|- Pharr.Texas 1re"ac°n
February 22, 2008
- ADA ACCE_SS_|B_IL|TY
(A_STM Tier li Fo_rmat)
item 115 Yes No _ NlA 'C_ornmanls'
6` Do elevator cabbles have visual and audible l l , " ":- X '…
__ .‘_|nd|cetors of cararrivai? ,_ ; _ _ l __________ ',
'Y' '_ 8re elevator controls low enough to be reached'. .~5 `| X .
ifrom a wheelchair {48 inches front approach/54! l
';lnche"s side approach)? .
m 8 ' j_8re eievator control buttons designated by Bra`llie _i:_" " X
:'and by raised standard alphabet characters _ii
_ tmounieo to the left ott_he hutton_i? _ __f!_____._____ ___ ______ _ _ __H_
9 iii a two-way emergency communication system is ; `X
'provlded within the elevator ceb, is it usable it
lethout voice communtce&cn?_ ' ......... c ------ __
G.' Toilet Rooms """
1_- 8`re common- -aré`a public toilet rooms l`ocated on _ `X ' """
|an accessible route? _I{
2 `8ra door handles push!pu|i or tovortype? _' i“)( i
3 - Are there audible and visual fire alarm devices in ' X ' Aiarm devices
..the toilet rooms? - l ; recommended,i See
': . .: . _:st:_zL@=-__H__
4 j ii8`re corridor"acc"ess doors wheelchair accessible X ` " " `
_ _'(at least 32 inches wide)? l 5
5 ii1_8re public toilet rooms large enough"" to ` " ` `X ` _""`Foilet"room"' ' ` "
l|ac¢:ommodate a wheelchair turnaround (60 inches modifications
" _iturning diameter)? l ' recommendedl See
iii _ " _ _ _ _ _, _!!__ ________ CostTabtcs_ __L#___W_
6 ’.. i_ln uni_seit toilet rooms are there safety alarms with i X ll : Sefety alarms
j pull cords? ' '_ii : recommended See
i` i . ' §: ` Cost Taicles.
7 8re toilet stall doors wheelchair accessible (et i X _
'_|e__ast 32 inches wtde}? . :' _______
a ._ i`A`r`e gra_b hare provided ineglie_rsi_aiis? . _____ rt h'_
s ii Ar'§'sinits previous thin clearance ter a wheelchair " x
i!]_ t_o roll under (29 inches ciea_r_a_n_c_e)? ! _ __ _ _ _
10 jr ' 8ro sink handles operable with one hand without ; ' X d 'm_ ry
.‘, grasping, pinc_hing ortwtstlng? ! _ _ ll
11 §§ IAre exposed pirg-lea under sinks sufficientiy_ X ll

 

 

 

i insulated against contact? __ _ :._

 

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Extracted from E2018- 01 Standard Gulde for Prop_erty Conditlon Assessmen

ts: Baseline Property Conditlon
Assessment Proce'ss. 881_1\/| international 100 BarrHarbor_Dri`ve,WestConshohoci_<on_, F_’A19428.

 

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C-5149-14-H

Prope_rty Cond|tlor`\ Assessment-Tsrrscon Pro]ect Number 92088503
ll»_femo`risl _Mlddio Schoo| - Phsrr, Texas .|E"acnn
Febru_ary 22, 2008

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A. Lirnitations

The services Terracon performed were general in scope and in nature. This Report is intended to provide a
general overview of the building systems and our opinion cf their overall condition. lt has been performed using
that degree of skill and care normally exercised by reputable consultants performing similar work. The activities
of this survey included observations of visible land readily accessible areas. Ths observations_w_ere performed
without removing Ol' damaging components of the existing building systemsl Consequently. certain assumptions
have been made regarding conditions and operating p'arfomiance. Comprshensive studies to |dentify.
documentl and evaluate every existing defect or deficiency, were not conducted in some cases. additional
studies may be warranted to fully evaluate concerns noted in addition, system checks or testing cf the
equipment in the operating mode is beyond the scope of this assessment it is recommended that contractors
bids be obtained for items that may represent significant expenditures

The observations, findings, and conclusions within this Report are based on our professional judgment end
information obtained during ihs course cf this assessment based on the scope of work authorized The opinions
and recommendations presented herein are based on our observations, evaluation of the information provided
and interviews with personnel familiar with the property. No calculations have been performed to determine the
adequacy of the facility‘s original design. lt is possible that defects and rcr deficiencies exist that were not
readily accessible or yi`sibls. F'roblerns may develop with llms,_ which were not evident st the ti_ma of this
assessmentl The opinions and recommendations in this Report should not be construed in anyway to constitute
a warranty or guarantee regarding the current or future performance cf any system identified

The representations regarding the status of ADA Title iii compliance were determined based o_n visual
observation end without any'physicai measuring and. thus, are intended to be a good faith effort to assist the
Client by noting nonconfonning conditions along with estimates of costs to correct and are not to be considered
to be based on a detailed study. This Report does riot confirm the presence or absence of asbestos, r~ncidl
PCEis or toxic solis on this proporty. if Terracon has been retained to provide services that will identify
environmental conditions that may have an impact on the sits, a Report will be issued under separate covsr.

B. Condition Evaluation Def|nltione

Good: Average to above-average condition for the building system or materials assessed with
consideration of its age, design. end geographical location. Generaiiy, other than normal
maintenancs. no` work is recommended or required

Falr: Averags condition for the building system evaluated Some work is required or
recommended.. primarily due t_o normal aging and wear of the building system. to return the
system to a go`o__d condition.

Poor: Bei'ow average condition for‘the building system evaluated Signiflcant work should be
anticipated to restore the building system `or matsrleito an acceptable condition.

Estlmated Repsir Cost Tebio -Tha Estlmated Repair Cost Tabie is an analysis of the estimated cost for repair
work defined as 'one time‘ costs estimated for repairs or replacements; the repairs or replacements needed
within the first year to bring the property to a sound ssfs. and fully habitabie condition. The list includes il any
items which pose potential danger to the health. safety. or weil-being of building occupants. visitors, or
passsrsby such as structural deterioration and feilures, inoperable fire alarm systems, significant tripping
hazards. building code violations; il) items affecting occupancy such as lack of running water. out of service
areas. extensive damage caused by atomic fire cr earthquaka; _iii) significant deferred maintenance items or non-
working building systems such as HVAC systems, parking area repairs, broken windows andfor dcors. leaking
roofs. past or rodent` lnl’e,statione; iv) building systems or system components that have exceeded their expected
useful life and require replacement or upgrade. The Estlmated Repair Cost Tabis includes anticipated
replacement for the major components of the facilities during the evaluation period Reserve costs are typically
defined as predictable and ln some instances to be recurring within a specified future period Uniess specifically

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C -51 49-1 4-H
Properly-Condition Assessment-Terrecon Pi'oject Number 92088503 _
Memoriai Middle School -»- Phari‘, `i'exas -“-e"acun
Feb`ruary 22, 2008

required. these costs are not intended to represent enhancementsl upgrades or improvements to the existing
property. The estimates are based on the physical assessment of the property. a review of maintenance logs
and historical capital expenditures as well as any scheduled or in»progras_s_ capital improvement programs The
remaining life values are based on published historical performance data for comparable items with
consideration for the present condition and reported service history. The costs are provided without an inflation
factor for future expenditures

Opinion of Costs

The opinions of costs presented are ior the repairirepiacement of readily visible materials and building system
defects identified that might significantly affect the value of the property during the evaluation period. These
opinions are based on approximate quantities and values. They do not constitute a warranty that ali items,
which may require repair or replacementl are lnc|t._ided. Estlmated cost opinions presented in this report are from
a combination of sourcas. The primary sources are from iviaan`s ;Repair and Remodeiing Cost Data and ivteans
Facititi_es tvia|ntenanca and Repair Cost Daia; past invoices or bid documents provided by site management; as
wall as Terracon's experience with costs for similar protects and clty;cost indexes

Actual costs may vary depending on such matters as type and design of rsrnedy; quality of materials and
installation; manufacturer of the equipment or system saiacted; held conditions; whether a physicai deficiency is

_ repaired or replaced in who|e: phasing ot the wori~'.; quality of the contractor{s); protect management exercised;
and the availability of time to thoroughly _so|ic_it competitive pricing. in view of these limitations the costs
presented herein should be considered "order of magnitude" and used for budgeting purposes oniy. Dataiied
design end contractor bidding is recommended to determine actual cost.

These opinions should not be interpreted as a bid or otter to perform the wori<. Ail costs are stated in present
vaiua. The recommendations and opinions of cost provided herein are based on the understanding that the
facility will continue operating in its present occupancy classification and general quality level unless otherwise
-stated. information furnished by site personnel or the property managementl if presentedl is assumed by
Terracon to be reilabie. A detailed inventory of quantities for cost estimating is not a part of the scope _of this
Report.

C. =Ele'iiance

The Report may be relied upon by you as a description of the current physical conditions of the building
and site improvements, as of the date of this Report, and with the knowledge that there are certain
limitations and exceptions within the Report that are reflective of the scope of services. '

Thie Report was prepared pursuant to the contract Terracon has with EPO internationall LLP. The
contractual relationship included an exchange of information about the subject site that was unique and
between Terracon and its client and serves as a basis upon which this Report was _prepared. Baceuse of
the importance of the communication between Terracon and its client, reliance or any use of this Report by
anyone other than EF'O lnternatlonai, LLP, for whom it was prepared. le prohibited and therefore not
foreseeable to Terracon. Ral|ahce' or usa by any such third party without explicit authorization in the
Report does not make said third party a third party beneficiary to Terraoon's contract with EF'O
intematioriai, Li.F'. Any_ such unauthorized rai|anc`e on or use of the Report, including any cf its information
or conoiuaions. wl|i be at the third pariy`s sole risi<. For the same reasonsl no warranties or representation
express or implied in this Report. are made to any such third party.

This Report'wiii speak only as of its dat_e_._>

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Property Condlt_lon Assessment-Torracon Pro_lect Number 92088503 wm
Memorlal Midd|e Schoo| - Pharr, Texa`s` 1
February 22, 2008

D. Assessment Team

The foilowlng;p'anidp§tsd-in thls_assess_manl:

 

 

 

 

 

 

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Mechanloal. E`iectrica|I Piumb|ng David Tyner, E.|.’ii. " ` ` Terracon
F|re Protectlo'n and Lifs Safety, "

Comrlllan_r>e with Codes l __ __ . __ __ _
Report Revlew Jeffrey A. Ml|ler, F'.E. ` Terracon

 

 

 

E. Advlsory‘ Notes

The following advisory notes are provided to discuss potential issues associated with budgeting practices.
presence of potential hazardous materisia, constructions products that may be defective or have a shorter useful
life than anticipated fpr_ similar or alternative products used for ti_'_ie same purpose The list of items addressed is
not intended to list ali such products, but includes some that could be present 'at-thls type of development

_ljazerdgg§ M` signals - Tnls*Raport does nol confirm or deny the presence or absence of items such as mold,
asbestos, environmental conditions or hazardous substances oh this property.

_Water intg.§sicn - Fres§_nce of exce_s_s_]ye moisture end yislbie eyidggp_e of §gspgg m old d§veiogm§nt - Limited
interior dress"df"t`h`e`"`t`$`t`iiidings `td""wiiic_h access was _provided, and where building elements were readily
observabla,_were visually observed for the presence of excessive moisture and visible evidence of suspect mold
developmentl if included as part o_f the authorized scope of worI<. No observations were conducted within
concealed locations (behlnd wall and calling finishes, and other building components considered to be hidden
conditions). No sampling or testing was performed in this assessment in addition to-our visual observation
efforts, our questionnaire requested information from property personnel regarding their disclosure of any ignoan
excessive moisture or mold issuee. The scope of this work should not be construed as a mold assessment

§gisllgg_gg_of_igiagantje_s - lt is recommended that the Qllent investigate the transferability of the any ln¢piace
roof warranties id the new Ownership prior to any property transaction

Phenolic Fogm insulation - Our`evsluation of the roof systems at this properly was visual and did not include
moisture surveys`o`r roof cores to evaluate the condition of unexposed roof system components, including the
underlying insulation materials Phenolic foam lnsulation. was manufactured from 1980 through 1992 and has
been determined to possibly lead to corrosion of steel decks because of an acidic reaction that takes place
when the phenolic foam insulation contacts moisture. A national class action lawsuit was filed and settled on
behalf of building owners that had phenolic foam roof insulation installed on metal decking. and against the roof
insulation manufacturers Terracon recommends that the entire roof systam, including the insulation and the
condition of metal dacklng, should b_e inspected yearly and particularly prior to specifying-a roof replacement if
phenolic foam insulation is determined to be present. full replacement of the insulation andlor the metal roof
deck, or some portion of the deck. could be required Additionai costs such as these are not included in our roof
replacement estimates Ongolng repairs and maintenance should be anticipated as part of molina operating
maintenance the cost of which will likely increase as the roofing ages. |vlal<ing recommendations concerning
specific roof replacement type and design requires in-depth testing and evaluation that is not a part of this
Report's scope of eerv_ices. For purposes of this level of assessment any replacement ls assumed to be the
same construction»type as that which is currently in piace.

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Preperty Condltlon Assessment-Terraoon P(r':c;]§¢l%llg.lr-n`o%r|gn$$$% 1&"3:°"
Memorial M|dd|e Sohool - Pharr, Texas
February 22, 2008

APPEND|X_A

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2 m Federui Fiuod insurance is not available because community is nol participating in ihs NF|P;;

 

n m ErnevgencyPr¢mrnmchFlP

3. [:] Bulidinn{Mob\ic Homa is _ln _a- <_>onltal_Borrier Re»oui'oas mae (ClRA) or otherwise Prolocied Aroo (OPA). Faderel Ficod insurance may not be available

 

  

 

    

 

 

  

 

 

 

 

 

 

 

 

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APPEND|X B

PHOTOGRAPHS

